
MEMORANDUM **
Abisuk Sinsaeng, a native and citizen of Thailand, was convicted of dissuading a victim or witness in violation of CaLPenal Code § 136.1(b)(1). The Immigration Judge ordered him removed to Thailand, finding his conviction to be an aggravated felony because it is an offense relating to obstruction of justice under 8 U.S.C. § 1101(a)(43)(S). Applying the interpretation of “obstruction of justice” articulated in In re Valenzuela Gallardo, 25 I. &amp; N. Dec. 838 (BIA 2012), the Board of Immigration Appeals dismissed Sinsaeng’s appeal. Sinsaeng now petitions for review.1
We have jurisdiction pursuant to 8 U.S.C. § 1252(a)(2)(D). In light of our decision in Valenzuela Gallardo v. Lynch, No. 12-72326, we remand to the Board for either application of the agency interpretation announced in In re Espinoza-Gonzalez, 22 I. &amp; N. Dec. 889 (BIA 1999), or consideration of a new construction of 8 U.S.C. § 1101(a)(43)(S).
PETITION GRANTED IN PART, AND REMANDED.

 This disposition is not appropriate for publication and is not precedent except as provided by 9th Cir. R. 36-3.


. The parties are familiar with the facts, so we do not recount them in detail.

